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               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                          4:15CR00224-3 BSM


MARISSA DONANN SCROGGINS


                                    ORDER

      On November 12, 2015, the parties agreed to Defendant’s placement in

inpatient drug treatment at Wilbur Mills. Doc. 142. Accordingly, the Government’s

Motion to Revoke Pretrial Release (doc. 137) is DENIED, AS MOOT.

      IT IS SO ORDERED this 17th day of November, 2015.



                                     ___________________________________
                                     UNITED STATES MAGISTRATE JUDGE
